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           EXHIBIT D
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


SMARTMATIC USA CORP., et al.,

                   Plaintiffs,                        No. 1:21-cv-02900-CJN
       v.

HERRING NETWORKS, INC.,                               Judge Carl J. Nichols

                   Defendant.


  DECLARATION OF MAURA LEVINE-PATTON IN SUPPORT OF THIRD PARTY
               SCOTT CIRCLE COMMUNICATIONS, INC.’S
 REPLY IN SUPPORT OF ITS MOTION TO QUASH DEPOSITION SUBPOENA AND
   RESPONSE TO OANN’S MOTION TO COMPEL DOCUMENT PRODUCTION

       I, Maura Levine-Patton, make this declaration pursuant to 28 U.S.C. § 1746. I hereby

declare under penalty of perjury that the following is true and correct:

       1.      I am an attorney at Benesch, Friedlander, Coplan & Aronoff LLP and counsel for

nonparty Scott Circle Communications, Inc. (“Scott Circle”) in this action. As such, I am fully

familiar with the facts and circumstances of the matters stated in this declaration.

       2.      OANN’s draft Motion to Modify Deposition Limits asks the Court to expand

deposition limits to 120 hours per side. OANN sought approval from Courtney A. Moore,

Courtroom Deputy for the Honorable Judge Carl Nichols, to file its Motion to Modify Deposition

Limits and four other discovery motions. On Monday, October 30, Ms. Moore explained, “These

matters are pending before Magistrate Judge Upadhyaya.            These and similar requests and

communications should be directed to her chambers.”

       3.      On October 19, 2023, OANN and Scott Circle continued to discuss Scott Circle’s

production. During this meeting, OANN did not object to using search terms to assist with Scott


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Circle’s production. OANN acknowledged the burdensome nature of its proposal and asked Scott

Circle to use the 9/8 Search Terms. Scott Circle agreed to produce documents captured by the 9/8

Search Terms so long as OANN would not request further iterations after production, as doing so

would create an undue burden to Scott Circle. Scott Circle informed OANN that a production

rooted in the 9/8 Search Terms could occur relatively quickly, as it was already in the process of

being prepared. Scott Circle was sure that this agreement would meet the needs of both parties:

Scott Circle could produce responsive documents without incurring undue burden, and OANN

would receive such documents in a timely manner. It came as no surprise that OANN agreed to

this arrangement during the meet and confer.

       4.      During the October 19 meet and confer, the parties reached the following

agreement: Scott Circle would produce all documents captured by the 9/8 Search Terms, and

OANN would not request further iterations. Following the meet and confer, OANN went back on

this agreement. Scott Circle refused to acknowledge the parties' agreement and Scott Circle’s

willingness to produce responsive documents.

       5.      On November 2, OANN informed Scott Circle of its intent to move to compel the

production of documents. Scott Circle promptly reminded OANN of its willingness to produce

documents. In particular, Scott Circle explained, “A motion to compel is wholly unnecessary given

that we have agreed to product documents for all of the third-party PR firms that we represent…”

OANN did not respond and filed its Motion to Compel Document Production.

       6.      After Scott Circle sent OANN the 9/8 Search Terms, OANN did not respond for

almost a month. During this time, OANN did not object to the 9/8 Search Terms. OANN did not

otherwise indicate to Scott Circle that the 9/8 Search Terms were insufficient.




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Date: November 9, 2023




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